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                   IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

IOU CENTRAL, INC.
d/b/a IOU FINANCIAL, INC.,

      Plaintiff,                                 Case No.21-1482
vs.

CRAFTWORK, INC.;
JOSEPH MINNIX;
ANGELA STAR MINNIX;

      Defendants.
___________________________________/

                                     COMPLAINT

      Plaintiff IOU sues the Defendants as follows:

      1.     Plaintiff is incorporated in Delaware, whose principal place of business

located in Georgia, which is a citizen of both states per 28 U.S.C. § 1332

      2.     Defendant Craftwork [Business] is incorporated in Florida, the location

of its principal place of business, per § 1332

      3.     Defendants Joseph Minnix [Debtor] and Angela Minnix [Co-Debtor]

are domiciled in and citizens of Florida per § 1332. Co-Debtor operated, owns or has

a marital or other interest interest in Business, a woodworking business, with Debtor,

to whom she is married.

      4.     Business and Debtor are officers, owners or other agents of each other

and Co-Debtor with authority to act on their behalf such as the transactions at issue.




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       5.     Per § 1332, jurisdiction exists in this case based upon diversity of

citizenship between the parties and the amount in controversy exceeds $76,000.00,

such as relief in law or equity. Per § 1367, jurisdiction exists over all claims.

       6.     This litigation concerns debt, property and relief valued in excess of

$76,000.00, including damages and fees recoverable by contract and statute.

       7.     Under 28 U.S.C. § 1391 and § 89, venue is proper as a substantial part of

the events or omissions giving rise to the claims occurred here or Defendants consented

to this venue and personal jurisdiction to which they are subject.

       8.     The Loan at issue and its governing instruments stipulate they were

applied for, considered and funded from Georgia, whose performance is due in

Georgia. They are governed by Georgia law and provide the option for Plaintiff to

file suit to enforce them in Georgia or here, which waive any defenses of jurisdiction

and venue, as Defendants agreed, who subjected themselves to jurisdiction in either

forum with their property and assets. Co-Debtor is related to Business and Debtor

and bound by the loan instruments. Co-Debtor is linked to the Debtor and Business

by virtue of their common ownership of real property secured by the Loan and other

conduct. It was foreseeable that Co-Debtor would be bound by the Instruments, per

their terms, whose rights derive from Business and Debtor, as detailed below.

       9.     Business and its owner, Debtor, applied for a commercial loan [Loan]

at Plaintiff’s Georgia office, which represented in the application process that Debtor

could bind the Business, who had the ability and intent to comply with the Loan;




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whose application information was truthful, upon Plaintiff materially relied, of

which Co-Debtor assumed, adopted and ratified.

      10.    On or about 3/4/21 [Closing] Business, through Debtor, executed and

delivered a Note to Plaintiff for a gross loan amount/principal sum of $150,000.00,

at its office, in exchange for its Funds, with a loan guaranty fee, confirming all

information in the loan application process [Note ¶ 1-5].

      11.    The Note is breached and in default if (i) its amounts are not received

when due; (ii) Business breaches its warranties, representations, covenants, terms or

conditions (iii) default under any guaranty or instrument, to enhance the Loan’s

underwriting; a bankruptcy, insolvency or receivership proceeding is commenced by

or as to Business and not dismissed within 30 days (iv) Business ceases to exist (v)

Business obtains another loan without written permission [Note ¶ 6].

      12.    The Note is Business’s unconditional legal obligation to satisfy the

Loan, with all others who become liable for its amounts due, such as the other

Defendants, who waived any defenses to it, aside from payment, which states:

      Borrower and all others [emphasis added] who become liable for the
      payment of all or any part of the amounts due under this Note do
      hereby severally waive: (i) presentment and demand for payment; (ii)
      notice of dishonor, protest and notice of protest, acceleration and intent
      to accelerate, non-payment and all other notices of any kind, except for
      notices expressly provided for in this Note; and (iii) any defense, including
      but not limited to the defense of the statute of limitations in any action or
      proceeding brought for the obligations due, arising under or related to this Note
      aside from the defense of payment in full. No notice to or demand on
      Borrower shall be deemed to be a waiver of the obligation of Borrower
      under this Note or the right of Lender to take further action without
      further notice to Borrower. [Note ¶13]


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      Borrower is and shall be obligated to pay principal, interest and any
      other amounts which shall become payable hereunder absolutely and
      unconditionally and without any abatement, postponement, diminution or
      deduction and without any reduction for counterclaim or setoff [emphasis
      added] [Note ¶14]

      13.   The Note is governed by Georgia law and subject to jurisdiction and

venue in any forum in any action arising from or relating to it [Note ¶¶ 20, 23, 24]

which the Defendants assumed, adopted and ratified.

      14.   The property and assets of Business, with all others who become liable

per the Note, are encumbered as its collateral under a Security Agreement in the

Note, which Defendants assumed, adopted and ratified, which provides:

      As security for the due and punctual payment of all amounts due or to
      become due and the performance of all obligations of Borrower from
      time to time under this Note and all extensions, renewals and
      amendments of any of the foregoing Borrower hereby pledges, transfers,
      assigns, conveys and grants a security interest to a continuing lien upon
      and security interest in and to all of Borrower’s now owned or hereafter
      acquired, created or arising property including any right, title or interest
      in or to property of any kind whatsoever, whether real, personal or
      mixed, and whether tangible or intangible, and in each case regardless
      of where such Property may be located and whether such Property may
      be in the possession of Borrower, Lender or a third party and shall
      include any right, title or interest in or to property of any kind
      whatsoever, whether real, personal or mixed, and whether tangible or
      intangible and (1) any and all amounts owing to Borrower now or in the
      future from any merchant processor(s) processing charges made by
      customers of Borrower via credit card or debit card transactions: and (2)
      all other tangible and intangible personal property, including, but not
      limited to: (a) inventory, (b) equipment, (c) investment property,
      including certificated and uncertificated securities, securities accounts,
      security entitlements, commodity contracts and commodity accounts,
      (d) instruments, including promissory notes, (e) chattel paper, including
      tangible chattel paper and electronic chattel paper, (f) documents, (g)
      letter of credit rights, (h) accounts, including health care insurance
      receivables, (i) deposit accounts, (j) general intangibles, including

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      payment intangibles and software, and (k) as-extracted collateral as
      such terms may from time to time be defined in the Uniform
      Commercial Code. The collateral includes all accessions, attachments,
      accessories, parts, supplies and replacements for the collateral, all
      products, proceeds and collections thereof and all records and data
      relation thereto [Note ¶ 21]. [See also Note ¶ 12 (b)]

      15.    The Note and Security Agreement are enforceable by remedies such as

but not limited to repossession, replevin, judicial foreclosure or prejudgment or

provisional remedies relating to any collateral, security or property interests of the

Defendants for debt owed under the Loan [Note ¶ 25].

      16.    At the Closing, Debtor executed and delivered a Guaranty of the Note

and Security Agreement to Plaintiff’s Georgia office.

      17.    The Guaranty is breached and in default based upon a breach of and

default on its terms or any breach of and default on the Note [Guaranty p. 1].

      18.    The Guaranty is Debtor’s unconditional legal obligation to satisfy the

Loan, with all others who become liable for it, with their estates, executors,

administrators, heirs, successors and assigns, such as the other Defendants, who

waived defenses aside from payment, as the Guaranty states:

      In consideration of the loan made by Lender to Borrower, Guarantor
      hereby absolutely and unconditionally guarantees both payment of, and
      collection of, the Guaranteed Debt when due under the terms of the Note.
      Guarantor will pay the Guaranteed Debt in full, without setoff or counterclaim
      upon Lender’s demand. [emphasis added] This Guaranty shall not be
      affected by the genuineness, validity, regularity or enforceability of the
      Note, or by circumstances relating to the Note that might otherwise
      constitute a defense to this Guaranty. Guarantor acknowledges that there
      may be more than one Guarantor of the Guaranteed Debt and agrees
      that, in such circumstances, each Guarantor shall be joint and severally
      liable for the Guaranteed Debt. [Guaranty ¶ 2].


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      This Guaranty is a continuing and irrevocable guaranty of the
      Guaranteed Debt and shall remain in full force and effect until the
      Guaranteed Debt, and any other amounts payable under this Guaranty,
      are paid in full. This Guaranty shall continue to be effective, or be
      reinstated, as if such payment had not been made, if at any time any
      payment of any portion of the Guaranteed Debt is rescinded or must be
      restored or returned by Lender to Borrower upon the insolvency or
      bankruptcy of the Borrower or otherwise This Guaranty shall: (i) bind
      Guarantor and Guarantor’s executors, administrators, successors and
      assigns, [emphasis added] provided that Guarantor may not assign rights
      or obligations under this Guaranty without Lender’s prior written
      consent; and (ii) inure to the benefit of Lender and its successors and
      assign [Guaranty ¶ 3].

      Guarantor and all others [emphasis added] who become liable for the
      payment of all or any part of the amounts due under this Note severally
      waive: (i) presentment and demand for payment; (ii) notice of dishonor,
      protest and notice of protest, acceleration and intent to accelerate, non-
      payment and all other notices of any kind, except for notices expressly
      provided for in this Note; and (iii) any defense in any action or proceeding
      brought for the obligations due under this Guaranty aside from the defense of
      payment in full. No notice to or demand on Guarantor shall be deemed
      to be a waiver of the obligation of Guarantor under this Guaranty or the
      right of Lender to take further action without further notice to
      Guarantor. [Guaranty ¶ 8].

      19.   The Guaranty is governed by Georgia law and all others who become

liable for or are bound by the Loan per the Guaranty are subject to jurisdiction and

venue in any action arising from or relating to the Loan [Guaranty ¶¶ 10, 12] which

all Defendants assumed, adopted and ratified.

      20.   The property and assets of Debtor with all others who become liable for

the Loan or are bound by the Loan are encumbered as collateral for the Loan under

the Note, Security Agreement and Guaranty, or as otherwise required, which

Defendants assumed, adopted and ratified, as the Guaranty states as follows:


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      Guarantor agrees that the Guaranteed Obligations shall consist of all
      obligations of any Borrower under the Note, including: (i) the Principal
      Note Amount and Loan Guaranty Fee; (ii) Note Interest; (iii) Default
      Interest; (iv) Late Charges, (v) Insufficient Funds Charges; (vi) the
      Security Agreement in the Note, which is secured by Guarantor’s property to the
      same extent as the Borrower’s property under the Security Agreement and the
      provisions of which are hereby incorporated by reference against the Guarantor
      as if the Guarantor had executed the Security Agreement in the Note; (vii) any
      amounts owed as a consequence of a declared Event of Default and
      acceleration by Lender; and (viii) Lender’s other costs and expenses of
      enforcing the Note including, but not limited to, attorneys’ fees, and the
      costs of any court/arbitration proceeding to enforce the Note against
      Borrower. [Guaranty ¶ 1]

      21.    Plaintiff may enforce the Loan as to Debtor and all others who become

liable for the Loan and are bound by the Loan under the Guaranty, such as Co-

Debtor, with its same methods and remedies in the Note such as the Security

Agreement [Guaranty ¶ 11, 14, 20].

      22.    At the Closing, Debtor executed a Debit Agreement with Business to

Plaintiff, authorizing Loan payments from their account into Plaintiff’s account,

certifying its purpose and their account, which Defendants ratified and adopted.

      23.    At the Closing, Defendants received the Loan Funds by wire transfer

into their account from Plaintiff’s account, to which they consented and ratified.

      24.    Defendants assumed and adopted the Note, Guaranty, Security and

Debit Agreements [Instruments] who are liable for the Loan.

      25.    The Instruments are a security interest in and encumber the property

and assets of Defendants, such as but not limited to the below ones:




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      (a)    1138 Shadowbrook Trail, Winter Springs, FL, 32708, Lot 260, Winding

Hollow Unit 4, owed by Debtor, per a deed to them recorded on or about 7/26/03,

Seminole Book 4932, Page 1251, Parcel Id No. 02-21-30-509-0000-2600, in which

Co-Debtor has a marital or other unrecorded interest. This property is identified in

the Guaranty as that of the Debtor.

      (b)    2777 South Financial Court, Sanford Florida 32773, Lot 24 and Part of

Lot 25, Midway Commer Center First Addition, owned by Debtor per a warranty

deed to him recorded 6/1/20, Seminole Book 3859, Page 1823, Parcel Id No. 22-20-

30-510-0000-0240, in which Co-Debtor has a marital or other unrecorded interest.

This property is identified in the Note as the location of the Business.

      (c)    Co-Debtor “became liable” for the Loan, is a “successor and assign” of

Business and Debtor and is otherwise subject to the Instruments, along with her

unrecorded marital or other interest in the above properties and assets.

      (d)    Co-Debtor is closely related to Business, Debtor and it was foreseeable

Co-Debtor would be bound by the Instruments, whose rights are derivative of the

other Defendants, whose conduct requires this result.

      (e)    The above and other properties and assets of Defendants are not subject

to a homestead or other protection or exemption, which were waived by the

Instruments or by the misconduct of Defendants, which were purchased, improved

or maintained with the Funds, or which are otherwise invalid.

      (f)    Any property and assets encumbered by other Loans of Business and

Debtor, satisfied by the Loan into which Plaintiff is subrogated.


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      (g)    The properties and assets of Defendants are subject to any UUC-1 or

other notice as to the Loan and Instruments by Plaintiff and to jurisdiction here.

      26.    The Instruments, when read together, are the commercial Loan, that

“absolutely and unconditionally” promises its “payment and collection” [Note ¶¶ ¶

2, 14, Guaranty ¶¶ 1-3]. Defendants are “liable for its amounts due” including Co-

Debtor [Note ¶ 13, Guaranty ¶¶ 3, 8]. It bars their claims, offsets and defenses except

payment [Note ¶ 13-14, Guaranty ¶¶ 2, 8]. It provides for payment of interest, costs,

other charges and attorney’s fees [Note ¶¶ 2, 5, 8, 10, Guaranty ¶¶ 1, 7]. It is

enforceable by remedies Plaintiff may simultaneously pursue, including on the debt

and Security Agreement [Note ¶¶ 12, 21, 25, Guaranty ¶¶ 11, 14, 20]. It was ratified

by Defendants who accepted and retained the Funds.

      27.    Defendants breached and defaulted upon the Instruments, such as but

not limited to misrepresentations when obtaining the Loan, defaulting just after the

Closing, failing to make payments, obtaining unapproved loans, dissipating their

property and assets, attempting to sell the Business, which they did not cure even

after demand by Plaintiff. Defendants are liable for the Loan and their misconduct,

as Business was undercapitalized and could not satisfy its debts.

      28.    Plaintiff owns and holds the defaulted Instruments, which has standing

to enforce them prior to commencing suit, whose principal balance and value

exceeds $76,000.00, with attorney’s fees, pre-judgment interest and other charges as

provided by law and their terms [Note ¶¶ 2, 5, 7, 8, 10, 12, Guaranty ¶¶ 1, 7]




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      29.    Plaintiff reasonably relied upon the representations of Defendants and

paid the Funds to them, which closed the Loan with them as a result.

      30.    Defendants accepted and retained the Funds, who are fraudulently,

wrongfully or unjustly enriched with them at Plaintiff’s expense, by retaining their

property, assets and the Funds.

      31.    Defendants are indebted to Plaintiff for the Funds, of which their

property and assets are secured as collateral per the Instruments.

      32.    All interests in the property and assets of Defendants are subject to,

subordinate and inferior to Plaintiff’s interest, of which they had notice or

knowledge, who will not be prejudiced or subjected to injustice by the relief sought.

      33.    All conditions precedent to occurred, were fulfilled, waived or their

occurrence or fulfillment were unnecessary or futile.

         COUNT I: ENFORCEMENT OF SECURED INSTRUMENTS
           AND RELATED RELIEF AS TO ALL DEFENDANTS

      34.    ¶¶ 1-33 are incorporated.

      35.    The Instruments are intended to bind the recipients and beneficiaries

of the Funds, such as the Defendants, which they assumed, adopted and ratified.

      36.    The Instruments are secured by all property and assets of Defendants

by their terms and or due to their conduct, which they assumed, adopted and ratified,

including the interests of Debtor and Business in the Business Defendants

      37.    Defendants breached the Instruments requiring their enforcement as to

their property and assets per these terms or per their conduct.


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       38.    Defendants accepted the Funds, which they wrongfully retain, who

are otherwise unjustly enriched by retaining them with their property and assets.

       39.    Defendants cannot enjoy any beneficial interest in their property and

assets without violating equitable principles, due to their misconduct.

       40.    The Instruments are enforceable against the property and assets of the

Defendants, as a secured debt, for which there is no adequate legal remedy, requiring

equitable relief, which will not prejudice anyone.

       41.    Per 28 U.S.C. §§ 2001, 2201 and applicable law, Plaintiff requests the

Court declare and establish that all Defendants are liable for the Instruments, which

are a secured interest in their property and assets, judicially foreclosing its secured

lien interest in all property, and assets of Defendants, their fixtures, appurtenances,

rents, contents and insurance for the principal sum of its Loan, interest, charges,

expenses, costs and fees, taxes and abstracting, in which all other claims and interests

are inferior, subordinate, barred, foreclosed, quieted to all right, title, interest and

equity of redemption, subject to prior liens, issuing a post-sale writ of possession and

of ejectment for Plaintiff or any purchaser, without waiver of its other remedies,

relating back to their execution, granting all just relief, such as its other relief pled

                  COUNT II: BREACH OF INSTRUMENTS AND
                   RELATED RELIEF AS TO DEFENDANTS

       42.    ¶¶ 1-33 are incorporated.

       43.    Defendants consented to and ratified the Instruments by accepting

the Funds, for which they are liable as co-guarantors and obligors.


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       44.    Defendants breached the Instruments, failed to make payments and

did not otherwise comply with their terms, which are now in default and due.

       45.    Plaintiff accelerated the principal balance of its defaulted Instruments

of which Defendants were given notice or notice was not required or is futile and the

Instruments provide for payment of Plaintiff’s attorney’s fees and costs.

       46.    Per O.C.G.A. § 13-1-11, Defendants are notified unless all principal,

interest and other charges due under the Instruments are paid within 10 days of

service of this Complaint, then Plaintiff can enforce and invoke the fees provisions of

the Instruments and they will be indebted for Plaintiff’s fees and costs.

       47.    Per O.C.G.A. § 7-4-16, Plaintiff is entitled to prejudgment interest with

any charges as provided by the Instruments and as provided by law.

       48.    Plaintiff demands judgment for its damages on the Instruments against

Defendants for a principal balance of at least $76,000.00, plus fees, interest, costs and

its other charges, plus all just relief such as its other remedies.

                      COUNT III: UNJUST ENRICHMENT AND
                   RELATED RELIEF AGAINST ALL DEFENDANTS

       49.    ¶¶ 1-33 are incorporated.

       50.    Defendants induced and encouraged Plaintiff to confer the Funds

upon them through Debtors, of which they assumed, adopted and ratified.

       51.    Plaintiff provided the Funds to Defendants, expecting their

repayment, of which they appreciated, consented, benefitted and ratified.




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      52.     Defendants retained the Funds which should be repaid, who are

otherwise unjustly enriched by them at Plaintiff’s expense.

      53.     Per O.C.G.A. § 7-4-16, Plaintiff is entitled to prejudgment interest and

other costs and charges as provided by law.

      54.     Per O.C.G.A. § 9-2-7 and applicable law, Plaintiff demands judgment

as to Defendants for the Funds, costs and all just relief, such as an equitable lien,

equitable mortgage or constructive trust on their property and assets.

            COUNT VI: ATTORNEY’S FEES AND RELATED RELIEF
                        AS TO ALL DEFENDANTS

      55.     ¶¶ 1-33 are incorporated.

      56.     Defendants acted in bad faith by their misconduct, refusing to resolve

these matters, requiring Plaintiff to bring the action and incur costs and fees.

      57.     Defendants were stubbornly litigious as there was no dispute of their

liability at which caused Plaintiff the unnecessary trouble/expense to bring suit.

      58.     Per O.C.G.A. § 7-4-16, Plaintiff is entitled to prejudgment interest

plus any charges provided by the terms of the Instruments.

      59.     Per O.C.G.A. §13-6-11 and applicable law, Plaintiff demands

judgment against Defendants for its fees, costs and just relief, including its other

remedies, if these are not otherwise granted.

      60.     Defendants are not minor(s) or adjudged incompetent; were not in the

military for the last 30 days and not subject to protection per 50 U.S.C. § 3901.




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           Respectfully submitted this 8th day of September 2021.

                 By:    /s/Paul G. Wersant
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